          Case 2:12-cv-02334-TLN-DB Document 10 Filed 01/25/13 Page 1 of 2


 1
 2
 3
 4                      IN THE UNITED STATES DISTRICT COURT
 5                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,               )
 7                                           )    2:12-cv-02334-GEB-GGH
                     Plaintiff,              )
 8                                           )    ORDER CONTINUING STATUS
               v.                            )    (PRETRIAL SCHEDULING)
 9                                           )    CONFERENCE
     L. RICHARD SHEARER; DIANE               )
10   SHEARER; STANLEY SWENSON as             )
     Trustee of the HOTLUM TRUST,            )
11   BERRYVALE TRUST, and REGENCY            )
     TRUST; CARL S. WILSON; CAROL            )
12   WILSON; EVELYN LOUISE SHEARER,          )
     as Trustee of the EVELYN LOUISE         )
13   REVOCABLE TRUST; VERNON L.              )
     SWENSON; LEORA SWENSON,                 )
14                                           )
                   Defendants.               )
15   ________________________________        )
16
17             Plaintiff states in its Status Report filed January 18, 2013,

18   that “[L. Richard Shearer, Diane Shearer,] and Evelyn L. Shearer have

19   answered the complaint at this time[,]” and requests the Court “to Order

20   that default may be entered against the remaining defendants if they do

21   not respond to the summons and complaint within twenty days of the date

22   of entry of the Scheduling Order.” (Status Report 3:9-12.)

23             Plaintiff shall take the steps necessary to prosecute this

24   action as a default matter as to Defendants STANLEY SWENSON, CARL S.

25   WILSON, CAROL WILSON, VERNON L. SWENSON, and LEORA SWENSON. No later

26   than March 1, 2013, Plaintiff shall either file whatever documents are

27   required to prosecute this case as a default matter as to the referenced

28   defendants or show cause in a writing filed why these defendants should


                                            1
          Case 2:12-cv-02334-TLN-DB Document 10 Filed 01/25/13 Page 2 of 2


 1   not be dismissed for failure of prosecution. The referenced defendants
 2   may be dismissed with prejudice under Federal Rule of Civil Procedure
 3   41(b) if Plaintiff fails to timely respond to this Order.
 4              Further,   the   status   conference   scheduled   for   hearing   on
 5   January 28, 2013, is continued to commence at 9:00 a.m. on March 18,
 6   2013. A joint status report shall be filed fourteen (14) days prior to
 7   the status conference in which Plaintiff shall address the status of the
 8   default proceedings and the parties shall address the scheduling of this
 9   action as to the defendants who have appeared.
10              IT IS SO ORDERED.
11   Dated:   January 23, 2013
12
13                                    GARLAND E. BURRELL, JR.
                                      Senior United States District Judge
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                            2
